IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

wINCHESTER DIvIsIoN
PHoNEUs, LLC, )
Plainciff, §
v. § CivilAction No. ‘. .;
HIGHWAY GAMES,LLC., § `\ ‘ .,\ ¢_ l
Defendant. §
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NOTICE OF REMOVAL

 

 

 

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nnessee

Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Highway Games, LLC (“Highway

Games”), removes this action from the Chancery Court for Bedford County, Tennessee; Docket

No. 28536, and states as follows:

1. Highway Games was served with the Complaint in this action on November 29,

2010. This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b).

2. This action is one of a civil nature and is removable under 28 U.S.C. § 1441 on

the grounds that there is diversity of citizenship based on the following:

a. Plaintiff PhoneUS, LLC is a Tennessee limited liability company with its

principal place of business in Tennessee. (Complaint 1[1)

b. Defendant Highway Games, LLC is a Florida limited liability company

with its principal place of business in Florida. (Complaint 112)

3. Although the Complaint does not contain a specific monetary demand, it does

request, among other things, a 5-year injunction against Defendant and an award of “damages,

profits and exemplary damages,” thus satisfying the 875,000.00 jurisdictional amount-in-

controversy requirement

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4. The United States Distn`ct Court for the Easterri District of Tennessee ~

Winchester Division embraces the Chancery Court for Bedford County, Tennessee.

5. Pursuant to 28 U.S.C. § 1446, and without waiving any claims or defenses of
Highway Games, attached herewith and marked as “Exhibit A” is a copy of all process,

pleadings, and orders provided to Highway Games in the state court action.
6. Written notice of the filing of this Notice of Removal will be provided to Plaintiff.

7. A true and correct copy of this Notice of Removal will be filed with the Chancery

Court for Bedford County, Tennessee.

WHEREFORE, Defendant Highway Games, LLC respectfully requests that this action
be removed to this Court and that the action be placed on the docket of this Court for further
proceedings

Respectfully submitted,

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Counsel for Highway Games, LLC

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CERTIFICATE OF SERVICE
l hereby certify that on the 14th day of December, 2010, l served a copy of the foregoing

via regular mail, postage prepaid, upon:

Mark J. Patterson, Esq.

WADDEY & PATTERsoN, P.C.

1600 Division Street, Ste. 500

Nashville, Tennessee 37203

and

John H. Norton, 111, Esq.

THE NoRToN LAw FlRM, P.C.

P. O. Box 37

Shelbyville, Tennessee 37162

Counsel for Phoneus, LLC

§//¢///§

Samuel P. Funk

 

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